











NUMBER 13-06-680-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


__________________________________________________________________


RICARDO RAMIREZ,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

__________________________________________________________________


On appeal from the 347th District Court


of Nueces County, Texas.


__________________________________________________________________


MEMORANDUM OPINION





Before Chief Justice Valdez and Justices Garza and Benavides


Memorandum Opinion Per Curiam






	Appellant, RICARDO RAMIREZ, attempts to appeal a conviction for violation of
protective order.  The trial court has certified that this "is a plea-bargain case, and the
defendant has NO right of appeal."  See Tex. R. App. P. 25.2(a)(2).

	On December 14, 2006, this Court notified appellant's counsel of the trial
court's certification and ordered counsel to: (1) review the record; (2) determine
whether appellant has a right to appeal; and (3) forward to this Court, by letter,
counsel's findings as to whether appellant has a right to appeal, or, alternatively,
advise this Court as to the existence of any amended certification.

	On December 15, 2006, counsel filed a letter brief with this Court.  Counsel's
response does not establish (1) that the certification currently on file with this Court
is incorrect or (2) that appellant otherwise has a right to appeal.  

	The Texas Rules of Appellate Procedure provide that an appeal must be
dismissed if the trial court's certification does not show that the defendant has the
right of appeal.  Tex. R. App. P. 25.2(d); see Tex. R. App. P. 37.1, 44.3, 44.4.
Accordingly, this appeal is dismissed.  Any pending motions are denied as moot.


						PER CURIAM


Do not publish.  Tex. R. App. P. 47.2(b).

Memorandum Opinion delivered and filed this

the 25th day of January, 2007.


